               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:15 CR 95-3


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
CAYLA ELAINE WHITE,                          )
                                             )
                 Defendant.                  )
____________________________________         )


        THIS CAUSE coming before the undersigned upon a Violation Report (#28)

filed in this matter alleging that Defendant had violated terms and conditions of her

pretrial release. At the call of this matter on for hearing the Government advised

that due to the plea of guilty of the Defendant as to count two as contained in the

superseding bill of indictment and the detention of Defendant, pursuant to that plea,

the Government wished that the Violation Report be dismissed as being moot. The

undersigned finds that good cause has been shown for the granting of such motion

and it is allowed.

                                     ORDER

        IT IS, THEREFORE, ORDERED that the Violation Report (#28) filed in

this matter is hereby DISMISSED as being moot.




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                              Signed: January 20, 2016




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